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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             MEMORANDUM DECISION
v.                                                               AND ORDER

CHRISTINA HARAMIJA,                                             Case No. 2:08CR671DAK

                       Defendant.




       Defendant CHRISTINA HARAMIJA has filed a motion for early termination of her

supervised release. On July 27, 2010, Defendant was sentenced to four months incarceration

with the Bureau of Prisons, 4 months of home confinement, and thirty-six months of supervised

release. Defendant was released from a half-way house on January 19, 2011, and, therefore,

completed her home confinement on May 19, 2011. Defendant has been serving her supervised

release since that time. Therefore, her term of supervised release is not scheduled to terminate

until May 2014.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” Thus, the court can only terminate a period of supervised release after the
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termination of at least one year. Because Defendant has not completed one year of her

supervised release term, the court cannot consider early termination yet. Defendant must wait

until at least May 19, 2012, to make a request for early termination. Defendant’s motion for

early termination of supervised release is DENIED at this time.

       DATED this 9th day of February, 2012.



                                             DALE A. KIMBALL
                                             United States District Judge




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